    Case 7:20-cr-00240 Document 406 Filed on 05/18/22 in TXSD Page 1 of 1

                      UNITED STATES DISTRICT COURT
                   FOR THE SOUTHERN DISTRICT OF TEXAS
                            MCALLEN DIVISION

United States of America

versus                                                Case Number: 7:20−cr−00240
                                                      Judge Randy Crane
Edgar Yvan Moreno Barragan


                NOTICE OF THE FILING OF AN APPEAL
An appeal has been filed by EDGAR YVAN MORENO BARRAGAN. The following
appeal and related motions are pending in the District Court:

                           Notice of Appeal − Amended − #402

If the appellant fails to comply with the following requirements, then the Clerk of Court
will submit a certificate of noncompliance to the Fifth Circuit Court of Appeals.

FILING FEE:
A filing fee is required to proceed on appeal. If the filing fee has not already been paid,
then it must be paid or a motion to proceed in forma pauperis must be filed, unless
appellant is an United States government agency.

TRANSCRIPTS:
If hearings were held in this case and the transcripts were not already produced, then
transcripts must be ordered. Pursuant to FRAP 10(b)(1), a transcript order form must be
filed within 14 days of the filing of the notice of appeal. Under Fifth Circuit Rule 10, the
appellant's order of the transcript must be made on a DKT−13 Transcript Order form. The
DKT−13 must be filed regardless of whether there were hearings or transcripts needed. A
link to the DKT−13 form and additional instructions for ordering transcripts are available
on the court's website at www.txs.uscourts.gov/page/OrderingTranscripts.
If there were no hearings or no transcripts are needed, file the DKT−13 form with the
appropriate box marked to indicate so. For cases where transcripts are needed, prepare a
separate DKT−13 for each reporter from whom you are ordering transcripts. All
transcripts for electronically recorded proceedings may be ordered on one form. Each
form should indicate the exact dates of the proceedings to be transcribed by that reporter.
This case had hearings. Reporter(s): Ricardo Rodriguez.

EXHIBITS:
The Fifth Circuit requires exhibits admitted into evidence be included in the electronic
record for transmission to the Fifth Circuit. Exhibits in the custody of the court will be
electronically filed by court staff. Exhibits previously returned to the parties must be
electronically filed in this case by the attorney, using event Exhibits in the Trial
Documents category in ECF.

Date: May 18, 2022.
                                                                    Nathan Ochsner, Clerk
